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IN THE UNITED sTATEs DIsTRIcT coURT lmi§)$v!§&fl_uc.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsIoN USJUH-l PH 3:59

 

HNHEWYP.§NTHOUO
CU§H,UB.USCCT

UNITED sTATEs oF AMERICA, ‘MB-OF?N-MEMBHB

Plaintiff,
vs. CR. NO. 04~20168-Ma
NANA ASANTEWAA ,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA'Y

 

This cause came on for a report date on March 25, 2005.
Counsel announced ready for trial and the court continued the trial
to Tuesday, July 5, 2005 at 9:30 a.m. to allow for the schedule of
the required Iwi interpreters. A report date will be held on
Friday, June 24, 2005 at 2:00 p.m.

The period from March 25, 2005 through July 15, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and (h)(S)(B}(i)
because the interests of justice in allowing the continuance

outweigh the need for a speedy trial.

 

IT IS SO ORDERED this zlslu day of May, 2005.
/ SAMUEL H. MAYS, JR.

   

UNITED sTATEs DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20168 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

